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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                    Plaintiff,                   )            8:05CR364
                                                 )
       vs.                                       )             ORDER
                                                 )
LESLIE HARNETT,                                  )
                                                 )
                    Defendant.                   )


       This matter is before the court on the tentative evidentiary hearing previously
scheduled by the Court on October 25, 2005, at 1:30 p.m. Such tentative hearing is
canceled.    The court will hold an evidentiary hearing on all pending motions on
November 22, 2005 at 1:30 p.m. in Courtroom No. 7, Second Floor, Roman L. Hruska
U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The defendant shall be
present.
       Counsel are reminded of the requirements of NECrimR 12.5 which provides as
follows:
              Disclosure of Evidence. This rule applies to all evidentiary
              hearings on pretrial motions in criminal cases.
              (a)     Witnesses. A the time of the hearing, and to the extent
              reasonably possible, the parties shall submit to the judge and
              courtroom deputy a written list of all witnesses whom the
              parties expect to call.
              (b)     Exhibits. At least twenty-four (24) hours before the
              hearing, each party shall mark the exhibits that party intends
              to introduce into evidence at the hearing, and provide a copy
              to counsel for all other parties and to the presiding judge.
Exhibits should be marked as follows: government’s exhibits beginning at Number 1 and
defense exhibits beginning at Number 101.
       IT IS SO ORDERED.
       DATED this 19th day of October, 2005.
                                                 BY THE COURT:
                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
